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                                                                                             E-FILED
                                                                    Monday, 02 July, 2018 11:17:02 AM
                                                                        Clerk, U.S. District Court, ILCD
043407/19344/JNR/KLM


                          UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION

ROBERT T WILLIAMS,

                       Plaintiff,
                                                 No. 17-cv-1466
v.
                                                 Judge Joe Billy McDade
WEXFORD HEALTH SOURCES INC.,

                       Defendants.

      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE DEFENSES

        COMES NOW the defendant, Wexford Health Sources, Inc., by its attorneys,

CASSIDAY SCHADE LLP, and pursuant to the Merit Review Order filed on January 25,

2018 [Doc. 7] and Local Rule 16.3(E)(2), hereby submits this Answer and Affirmative

Defenses to plaintiff’s complaint. In support thereof, the following statements are made.

        1.      Defendant, Wexford Health Sources, Inc., admits it has contracted with

the Illinois Department of Corrections and with various health care professionals who

use their judgment to provide medical services to inmates.

        2.      Defendant, Wexford Health Sources, Inc., admits jurisdiction is proper in

the Central District of Illinois.

        3.      Defendant, Wexford Health Sources, Inc., admits venue is proper in the

Central District of Illinois.

        4.      Defendant, Wexford Health Sources, Inc., denies any act or omission on

its part constitutes deliberate indifference to a serious medical need.

        5.      Defendant, Wexford Health Sources, Inc., denies plaintiff had a serious

medical need as alleged in the complaint.

        6.      Defendant, Wexford Health Sources, Inc., denies that any alleged medical
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treatment was delayed for cost reasons or that its actions constituted deliberate

indifference to a serious medical need.

       7.      Defendant, Wexford Health Sources, Inc., denies plaintiff was injured by

any act, omission, or delay allegedly caused by defendant.

       8.      Defendant, Wexford Health Sources, Inc., denies plaintiff is entitled to any

relief whatsoever.

       9.      Defendant, Wexford Health Sources, Inc., denies plaintiff's claims are

meritorious.

DEFENDANT DEMANDS TRIAL BY JURY

                                AFFIRMATIVE DEFENSES

       10.     To the extent plaintiff has failed to exhaust his administrative remedies

prior to initiating bringing this action, his claims are barred by Section 1997e(a) of the

Prison Litigation Reform Act.

       11.     To the extent plaintiff’s claims for relief accrued more than two years prior

to initiation of this case, they are barred by the applicable statute of limitations.

DEFENDANT DEMANDS TRIAL BY JURY AS TO ITS AFFIRMATIVE DEFENSES

       WHEREFORE, for the above reasons, defendant, Wexford Health Sources, Inc.,

respectfully requests this honorable Court to deny plaintiff any relief in this matter and

grant defendant judgment as to all matters and any other relief deemed appropriate,

including costs of suit.




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                                      Respectfully submitted,

                                      WEXFORD HEALTH SOURCES, INC.,

                                            Defendant,

                                      CASSIDAY SCHADE LLP,

                                            Attorneys for Defendant


                                      By: /s/ Karen L. McNaught

Karen L. McNaught, #6200462
CASSIDAY SCHADE LLP
111 North Sixth Street, 2nd Floor
Springfield, IL 62701
(217) 572-1714
(217) 572-1613 (Fax)
kmcnaught@cassiday.com




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                                CERTIFICATE OF SERVICE

       Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify the

statements set forth herein are true and correct and I caused to be electronically filed

the foregoing Answer to Plaintiff’s Complaint with Affirmative Defenses with the Clerk of

the Court using the CM/ECF system on July 2, 2018, which sends a “Notice of E-Filing”

to the following:

                                    None

and I caused to be served a true and correct copy of the foregoing Answer to Plaintiff’s

Complaint with Affirmative Defenses upon to the following non-CM-ECF participant:

                                    Robert T. Williams, #N03588
                                    Pontiac Correctional Center
                                    P.O. Box 99
                                    Pontiac IL 61764

by having it placed in the United States mail located in Springfield, Illinois, with proper

postage prepaid, before the hour of 5:00 p.m., on July 2, 2018.



                                                 /s/ Karen L. McNaught


Karen L. McNaught, #6200462
CASSIDAY SCHADE LLP
111 North Sixth Street, 2nd Floor
Springfield, IL 62701
(217) 572-1714
(217) 572-1613 (Fax)
kmcnaught@cassiday.com



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